Case 2:17-cv-00009-JES-NPM Document 413 Filed 10/26/21 Page 1 of 4 PageID 9208



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

 TB FOOD USA, LLC, a
 Delaware Limited Liability
 Company,

            Plaintiff,

 v.                                 Case No:   2:17-cv-9-JES-NPM

 AMERICAN MARICULTURE, INC.,
 a Florida Corporation,
 AMERICAN PENAEID, INC., a
 Florida Corporation, and
 ROBIN PEARL, an individual,

            Defendants.

 __________________________

 AMERICAN MARICULTURE,
 INC., a Florida
 Corporation,

      Third-Party Plaintiff,

 v.

 PB LEGACY, INC. a Texas
 Corporation,

      Third-Party Defendant.

 __________________________



                    FINAL PRETRIAL CONFERENCE ORDER

       This matter comes before the Court on the parties' Joint Pre-

 Trial Statement (Doc. #405) filed on October 22, 2021.           The Court

 held a final pretrial conference with counsel for all parties on
Case 2:17-cv-00009-JES-NPM Document 413 Filed 10/26/21 Page 2 of 4 PageID 9209



 October 26, 2021.       The following shall govern the course of this

 case:

       1. The   operative    pleading      is   this   case    is    the   Amended

         Complaint For Injunctive and Other Relief (the Amended

         Complaint). (Doc. #20).

            (a)   As a result of prior Orders (Docs. #87, #306), the

                  sole plaintiff in this Amended Complaint is TB Food

                  USA, LLC, a Delaware Limited Liability Company.

            (b)   The     only    remaining     defendants    in    the    Amended

                  Complaint are:        American Mariculture, Inc. (AMI),

                  a     Florida    Corporation;     American       Peneaid,   Inc.

                  (API), a Florida         Corporation; and Robin Pearl,

                  individually.

       2. The other operative pleading in this case is American

         Mariculture, Inc.’s Counterclaim. (Doc. #80).

         (a)    The only plaintiff in the Counterclaim is American

                Mariculture, Inc. (AMI).

         (b)    As a result of prior Orders (Docs. #307, #285), the

                only remaining defendant is PB Legacy, Inc., a Texas

                corporation.

         (c)    While    docketed     as   a    counterclaim,       the    parties

                recognize that the pleading is actually now a third-

                party complaint.        The parties may use either term

                interchangeably in this case.



                                      - 2 -
Case 2:17-cv-00009-JES-NPM Document 413 Filed 10/26/21 Page 3 of 4 PageID 9210



       3. The caption set forth above in this Final Pretrial Order

         shall be used in future filings.

       4. As to the Amended Complaint (Doc. #80):

         (a)   The sole defendant in Count I is AMI.

         (b)   Counts II and IX were previously resolved by the grant

               of summary judgment in favor of defendants.            (Doc.

               #35.)

         (c)   The only remaining defendants in Counts III, IV, V,

               VI, VII, and VIII are AMI, API, and Pearl. (Docs.

               #306; #357.)

       5. As to the Affirmative Defenses (Doc. #81), Affirmative

         Defenses # 13-26 and # 95 through 107 have been withdrawn.

         (Doc. #407, p. 2.)

       6. As to the Counterclaim/Third-Party Complaint (Doc. #80):

         (a)   The parties agree that Count III (the Third Claim for

               Relief) has been resolved (Doc. #285) and is no longer

               at issue as to any defendant.

         (b)   The only defendant as to Counts I (the First Claim

               for Relief), Count II (the Second Claim for Relief),

               and Count IV (the Fourth Claim for Relief) is PB

               Legacy, Inc.

       7. In connection with the Joint Pre-Trial Statement (Doc.

         #405):

            (a)   Paragraph 48, page 18, is deleted.



                                    - 3 -
Case 2:17-cv-00009-JES-NPM Document 413 Filed 10/26/21 Page 4 of 4 PageID 9211



            (b)   As to the Trial Exhibit List (Doc. #405-2) by TB

                  Food USA LLC and PB Legacy, Inc., all exhibits to

                  which there has been no objection are admitted into

                  evidence as of the date of this Order and may be

                  used at trial without further formal admission.

            (c)   As to the Trial Exhibit List (Doc. #405-3) by

                  Defendants, all exhibits to which there has been no

                  objection are admitted into evidence as of the date

                  of this Order and may be used at trial without

                  further formal admission.

       8. Trial remains as scheduled for November 1, 2021 at 9:00

         a.m.

       SO ORDERED:

       DONE and ORDERED at Fort Myers, Florida, this _ 26th__ day of

 October, 2021.




 Copies:
 Counsel of Record




                                    - 4 -
